       Case 3:20-cv-01035-SI    Document 186    Filed 10/01/20   Page 1 of 2




                   UNITED STATES COURT OF APPEALS                       FILED
                          FOR THE NINTH CIRCUIT                         SEP 30 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
INDEX NEWSPAPERS LLC, DBA                      No.   20-35739
Portland Mercury; et al.,
                                               D.C. No. 3:20-cv-01035-SI
               Plaintiffs-Appellees,           District of Oregon,
                                               Portland
 v.
                                               ORDER
UNITED STATES MARSHALS SERVICE;
U.S. DEPARTMENT OF HOMELAND
SECURITY,

               Defendants-Appellants,

and

CITY OF PORTLAND, a municipal
corporation; et al.,

               Defendants.

Before: O’SCANNLAIN, RAWLINSON, and CHRISTEN, Circuit Judges.

      We have received the motions for leave to proceed as amici in opposition to

the pending motion to stay the district court’s August 20, 2020 order. The motions

to proceed as amici are granted (Docket Entry Nos. 16 and 18).

      The motion to stay the district court’s August 20, 2020 order will be

addressed separately.

      We sua sponte extend the briefing schedule for this appeal. The opening

brief and excerpts of record are due October 14, 2020. The answering brief is due
       Case 3:20-cv-01035-SI    Document 186    Filed 10/01/20   Page 2 of 2




November 16, 2020. The optional reply brief is due 21 days after service of the

answering brief.




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